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 PEARSON, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


  SUSAN LLOYD,                                   )
                                                 )   CASE NO. 4:21CV1476
                     Plaintiff,                  )
                                                 )
                     v.                          )   JUDGE BENITA Y. PEARSON
                                                 )
  TIMOTHY CANNON, et al.,                        )
                                                 )   ORDER
                     Defendants.                 )   [Resolving ECF Nos. 20, 21, 23, 24, 25, 26,
                                                 )   28]


        Pending before the Court are two of Plaintiff’s Motions for Extensions of Time to File an

 Amended Complaint, wherein Plaintiff requests that the Court allow her an additional 14 days to

 file an Amended Complaint. ECF Nos. 26, 28. Because Plaintiff’s request was within the time

 frame to amend as a matter of course, the Court grants the request. 1

        Plaintiff will have 14 days from the date of this Order to file an Amended Complaint.

 The Motions to Dismiss filed by Defendants (ECF Nos. 20, 21, 23, 24, 25) in this case are denied

 as moot, without prejudice.


        IT IS SO ORDERED.


  October 22, 2021                                        /s/ Benita Y. Pearson
  Date                                                   Benita Y. Pearson
                                                         United States District Judge




        1
           Fed. R. Civ. P. 15(a)(1)(B) allows for a party to “amend its pleading once as a
 matter of course within … 21 days after service of a motion under Rule 12(b)[.]” In the
 instant case, the earliest Rule 12(b) motion was filed on September 20, 2021. ECF No. 20.
 Plaintiff made a request to amend that was postmarked October 5, 2021 and filed on the
 docket on October 12, 2021, the day after a federal holiday, on October 11, 2021. ECF
 No. 26 at PageID #: 300.
